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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

BRY’TSHEONA WOODS                                                                     PLAINTIFF

V.                          NO. 4:19CV00921 BRW-PSH

ANDREW SAUL, COMMISSIONER OF
SOCIAL SECURITY ADMINISTRATION                                                  DEFENDANT

                                           ORDER

       I have reviewed the Recommended Disposition submitted by Magistrate Judge Patricia S.

Harris. No objections have been filed. After careful consideration of the Recommendation and

the entire record, I approve and adopt the Recommended Disposition in its entirety.

       Accordingly, the Commissioner=s decision is AFFIRMED, and judgment is entered in

favor of Defendant.

       IT IS SO ORDERED this 16th day of October, 2020.



                                            Billy Roy Wilson_______________
                                            UNITED STATES DISTRICT JUDGE
